     Case 2:11-cr-00107-WFN    ECF No. 952   filed 05/18/12   PageID.3439 Page 1 of 1




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 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
       UNITED STATES OF AMERICA,                )
 8                                              )     NO. CR-11-107-WFN-10
                        Plaintiff,              )
 9                                              )     ORDER GRANTING IN PART
       v.                                       )     MOTION TO MODIFY RELEASE
10                                              )     CONDITIONS
       LUIS MIGUEL CERNA,                       )
11                                              )
                        Defendant.              )
12                                              )

13          Before the court is Defendant’s Motion to Modify Release

14    Conditions.    Based on the Motion to Modify, the Declaration of Gina

15    Costello and on information from the Pretrial Services Officer, and

16    based on the parties being in agreement, the court finds that good

17    cause exists to grant in part the Defendant’s Motion.

18          IT IS ORDERED        that the Defendant’s Motion to Modify his

19    conditions of release to remove the electronic home monitoring (ECF

20    No. 950) is GRANTED in part.             Electronic home monitoring shall

21    remain in place, and home confinement is lessened to a curfew from

22    9:00 p.m. to 5:00 a.m.        All other conditions of release remain.

23                DATED May 18, 2012.

24
25                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING IN PART MOTION TO MODIFY RELEASE CONDITIONS - 1
